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13
                         UNITED STATES DISTRICT COURT
14                      CENTRAL DISTRICT OF CALIFORNIA
15                               SOUTHERN DIVISION
16
17   LAMBERTO ROBILLOS VELASCO,              ) Case No.: 8:20-cv-02437-MRW
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                                             )
     Plaintiff,                              ) JUDGMENT OF REMAND
19                                           )
20          v.                               )
                                             )
21                     1
     KILOLO KIJAKAZI ,                       )
22   Acting Commissioner of Social Security, )
                                             )
23
     Defendant.                              )
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     1
      Kilolo Kijakazi became the Acting Commissioner of Social Security on July 9,
27
     2021. Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Kilolo
28   Kijakazi should be substituted, therefore, for Andrew Saul as the defendant in this
     suit. No further action need be taken to continue this suit by reason of the last
     sentence of section 205(g) of the Social Security Act, 42 U.S.C. § 405(g).
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 1         The Court having approved the parties’ Stipulation to Voluntary Remand
 2
     Pursuant to Sentence Four of 42 U.S.C. § 405(g) and to Entry of Judgment
 3
 4   (“Stipulation to Remand”) lodged concurrent with the lodging of the within
 5
     Judgment of Remand, IT IS HEREBY ORDERED, ADJUDGED AND
 6
 7   DECREED that the above-captioned action is remanded to the Commissioner of
 8   Social Security for further proceedings consistent with the Stipulation to Remand.
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     Date: October 7, 2021
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                                           HON. MICHAEL R. WILNER
13                                         UNITED STATES MAGISTRATE JUDGE
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